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From:           Adnan Muttalib
To:             OpenAICopyright; openaicopyrightlitigation.lwteam@lw.com; KVP-OAI; NYClassActions_Microsoft_OHS;
                MicrosoftNYClassActionFDBR@faegredrinker.com
Cc:             NYT-AI-SG-Service@simplelists.susmangodfrey.com; DailyNews-AI-RFEM@rothwellfigg.com; ai@loevy.com
Subject:        [NYT/Daily News/CIR] NYT"s Slack Date Overlay
Date:           Friday, March 21, 2025 11:38:19 AM


[EXTERNAL]




Counsel,

As we previously explained in our February 5, 2025 correspondence, there have been technical
issues with our Slack production. Specifically, incorrect date values were provided for
previously produced Slack messages. Please find an overlay that rectifies that issue. Let us
know if you have any difficulty accessing. Password will follow.

Best,
Adnan

Adnan Muttalib
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Not admitted in California. Practicing under the supervision of the partnership of Susman
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